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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


JOSEPH MICHAEL ARPAIO,
                          Plaintiff,
v.                                                            Case No. 18-cv-02387-(APM)

MICHELLE COTTLE, et al.
                          Defendants.



     PLAINTIFF’S OPPOSITION TO SPECIAL MOTION TO DISMISS PURSUANT TO
                          THE D.C. ANTI-SLAPP ACT

        Plaintiff Joseph Arpaio (“Plaintiff”) hereby submits the following in response to

Defendants’ Michelle Cottle and The New York Times’ (“Defendants”) Motion to Dismiss

pursuant to D.C. Code § 16-5502(a).

        It is well settled law that a federal court sitting in diversity may not apply the D.C. Anti-

SLAPP Act. “A federal court exercising diversity jurisdiction therefore must apply Federal Rules

12 and 56 instead of the D.C. Anti-SLAPP Act’s special motion to dismiss provision.” Abbas v.

Foreign Policy Grp., LLC, 783 F.3d 1328, 1337 (D.C. Cir. 2015); see also Libre by Nexus v.

BuzzFeed, Inc., 311 F. Supp. 3d 149 (D.D.C. 2018).

        In any event, as set forth in the accompanying Opposition to Defendants’ Motion to

Dismiss, Plaintiff has shown a likelihood of success on the merits, which would satisfy any

burden set forth by the D.C. Anti-SLAPP Act, even if it were applicable. However, as set forth

above, this Court need not even reach that analysis, as it is clear that the D.C. Anti-SLAPP Act

does not and cannot apply here. Filing a frivolous Anti-SLAPP motion is simply to meant to

cause Plaintiff to expend scarce resources.




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DATED: February 8, 2019                  Respectfully submitted,


                                         /s/ Larry Klayman
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                                         Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE
       I, Larry Klayman, counsel for Plaintiffs, hereby certify that on this day, February 8, 2019

a copy of the foregoing was filed via this Court’s ECF system and served upon all parties and/or

counsel of record.


                                                            /s/ Larry Klayman
                                                            Larry Klayman




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